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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :      CASE NO. 1:21-cr-00669-TJK
                v.                                :
                                                  :
KIM MICHAEL SORGENTE,                             :
                                                  :
                         Defendant.               :

                                 NOTICE OF REASSIGNMENT

        Notice is hereby given that the above-entitled case has been reassigned to Deputy Federal

Public Defender Michael Bo Griffith, in place and instead of Deputy Federal Public Defender

Callie Glanton Steele, for all further proceedings.

        Please make all necessary changes to the court’s Case Management/Electronic Case

Filing System to accurately reflect this re-assignment and to ensure that defense counsel receives

all notifications relating to filings in this case.

                                                  Respectfully submitted,



DATED: July 25, 2022
                                                  CUAUHTEMOC ORTEGA
                                                  Federal Public Defender
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